                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                    at CHATTANOOGA

 UNITED STATES OF AMERICA                      )
                                               )
                                               )
 v.                                            )       Case No. 1:06-CR-140-02
                                               )
 TOMMY PHILLIPS                                )       COLLIER/CARTER




                              REPORT AND RECOMMENDATION

         Pursuant to 28 U.S.C. § 636(b), I conducted a plea hearing in this case on April 18, 2007.

 At the hearing, defendant entered a plea of guilty to Count One Indictment, the lesser included

 offenses of conspiracy to distribute five hundred (500) grams or more of a mixture and substance

 containing cocaine and one hundred (100) kilograms or more of a mixture or substance

 containing a detectable amount of marijuana in violation of 21 U.S.C. §§ 846, 841(a)(1) and

 (b)(1)(B), in exchange for the undertakings made by the government in the written plea

 agreement. On the basis of the record made at the hearing, I find that the defendant is fully

 capable and competent to enter an informed plea; that the plea is made knowingly and with full

 understanding of each of the rights waived by defendant; that it is made voluntarily and free from

 any force, threats, or promises, apart from the promises in the plea agreement; that the defendant

 understands the nature of the charge and penalties provided by law; and that the plea has a

 sufficient basis in fact.

         I therefore recommend that defendant's plea of guilty to Count One of the Indictment be

 accepted, that the Court adjudicate defendant guilty of the charges set forth in Count One of the


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 Indictment, and that the written plea agreement be accepted at the time of sentencing. I further

 recommend that defendant remain in custody until sentencing in this matter. Acceptance of the

 plea, adjudication of guilt, acceptance of the plea agreement, and imposition of sentence are

 specifically reserved for the district judge.

         The defendant’s sentencing date is scheduled for Thursday, July 26, 2007, at 9:00 a.m.



 Dated: April 18, 2007                           S/ William B. Mitchell Carter
                                                 UNITED STATES MAGISTRATE JUDGE



                                        NOTICE TO PARTIES

        You have the right to de novo review of the foregoing findings by the district judge. Any
 application for review must be in writing, must specify the portions of the findings or
 proceedings objected to, and must be filed and served no later than ten days after the plea
 hearing. Failure to file objections within ten days constitutes a waiver of any further right to
 challenge the plea of guilty in this matter. See 28 U.S.C. §636(b).




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